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                                 January 4, 2023

VIA E-MAIL
Michael E. Bloom
Benesch Friedlander Coplan & Aronoff, LLP
Suite 1600
71 South Wacker Drive
Chicago, IL 60606-4637
mbloom@beneschlaw.com

        Re:    Discovery Letters
               Smartmatic USA Corp. et al. v. Lindell et al.
               Case No. 22-cv-98 (WMW/JFD) (D. Minn.).

Dear Mr. Bloom:

This letter responds to the issues raised with our clients’ responses to your
clients’ Requests for Production of Documents discussed in your letters of
December 14, December 22, December 27, and December 30, 2022, and               ANDREW D. PARKER
the two meet and confer conferences that have already occurred. We have         CHRISTOPHER M. DANIELS
an additional meet and confer scheduled for January 4, 2023, at 1:00pm          JESSE H. KIBORT
CST, at which we will discuss the remaining issues with your clients’           ELIZABETH S. WRIGHT
discovery requests. There will likely be further written correspondence         ALEC J. BECK
following that meet and confer.                                                 LORI A. JOHNSON
                                                                                MATTHEW R. ESLICK
       I.     General Comments.                                                 JOSEPH A. PULL
                                                                                RYAN P. MALONE
In your letter dated December 14, 2022, you requested clarification             JORDON C. GREENLEE
regarding whether Defendants would be “standing on” the objections
                                                                                ABRAHAM S. KAPLAN
asserted or would be producing documents subject to the objections and
                                                                                GREGORY N. ARENSON
identifying categories of documents were being withheld because of an
                                                                                REGINALD W. SNELL
objection. The supplemental responses served upon you yesterday clarify
Defendants’ position.
                                                                                FREDERICK C. BROWN
                                                                                 OF COUNSEL
This letter also requested information regarding the metadata that
accompanied Defendants’ first rolling production of documents in                888 Colwell Building
                                                                                123 Third Street North
December. We have identified the issue that caused the metadata issues          Minneapolis, MN 55401

                                                                                parkerdk.com

                                                                                Tel: 612.355.4100
                                                                                Fax: 612.355.4101
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raised in your letter and are working with our vendor to supplement the requests without
the need to do a complete re-production.

       II.    Specific Responses.

As noted above, your office was served with supplemental responses to the Requests for
Production yesterday. The supplemental responses memorialize our positions taken in the
two meet and confer conferences held to date. The paragraphs below expand on our
clients’ positions to the extent those positions differ from those articulated in your
various letters and require additional context.

              A.     Request No. 1.

Request Number 1 seeks the production of documents in Defendants’ custody or control
that “concern” Smartmatic, Dominion, or the 2020 Presidential Election, which are all
defined terms. According to the Request, “[t]here is no time limit for this Request.” Req.
No. 1. This Request is overbroad in two respects.

First, the Request contains no time limit. Purportedly, this would require Defendants to
search its physical files and electronic database for any communication related to
Smartmatic regardless of when it was made. As you are aware, the Complaint alleges
your clients sustained damages that arose from specific statements made by Mr. Lindell
and others concerning Smartmatic’s role in the 2020 Presidential Election. A statement
about your client made in, for example, 2016, has no bearing on your clients’ claims. The
Complaint acknowledges that Smartmatic did not contract with the Los Angeles County
Registrar-Recorder/County Clerk to participate in the Los Angeles County VSAP
program until 2018. Compl. ¶ 40. It did not begin manufacturing the equipment used in
Los Angeles County until the “end of 2019.” Id. ¶ 41. The first time Smartmatic’s
technology and support services were used by Los Angeles County was on March 3,
2020. Compl. ¶ 43. The Complaint alleges that Mr. Lindell did not make any statements
about voting machines whatsoever until after the 2020 general election occurred. Compl.
¶ 69.

This request must be limited in time, since the Complaint itself does not claim any
Defendant is liable for any damages before the November 2020 general election was
over. As a compromise, Defendants offer to produce documents dated on or after January
1, 2020.

Second, the Complaint seeks the production of documents having nothing to do with this
case. On the one hand, the Complaint claims Mr. Lindell defamed Smartmatic by
attempting to tie it to Smartmatic and other companies. E.g., Compl. ¶¶ 142-147, 173,
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187, 272-283, 288, 349, 359(2). On the other, the Complaint alleges that Smartmatic had
no connection to Dominion and that statements claiming there was a connection are
defamatory. E.g., Compl. ¶¶ 142-143, 146-147, 156, 173. It also alleges that Smartmatic
purportedly “did not play any role in the [2020] general election outside of Los Angeles
county” and that its “election technology, equipment, and services were not used in any
other county or state for the 2020 U.S. election.” Compl. ¶ 49. Smartmatic’s Answer to
Defendants’ Interrogatory No. 12 reiterates Smartmatic’s position that there is no
connection between the two entities.

Smartmatic cannot have it both ways. It cannot claim that it had no connection to
Dominion, and then demand that Defendants produce documents having only to do with
Dominion.

Defendants have agreed to produce documents relating to Smartmatic, the 2020
Presidential Election, and voting machines generally, but will not produce documents
having only to do with Dominion or other specific companies whose technology or
services were used in the 2020 Presidential Election.

              B.     Request No. 2.

Request Number 2 requests the production of “documents and communications with or
concerning” Donald Trump, the Trump Administration, or the Trump Campaign, which
are all defined terms. As with the previous request, “[t]here is no timeline for this
Request.” Req. No 2. This Request contains similar overbreadth deficiencies.

First, the request is not limited in time. See the discussion above for Defendants’ position
on Requests that are temporally unlimited.

Second, Defendants’ views on Donald Trump, the Trump Administration, or the Trump
Campaign have no connection—not even a tenuous one—to statements that allegedly
defamed Smartmatic. In the Complaint, Smartmatic alleges that Mr. Lindell defamed
Smartmatic to “curry[] favor with President Trump.” Compl. ¶ 183. See also Compl. ¶
328. Smartmatic then takes the leap that any communication “concerning” the categories
listed above economically benefitted My Pillow, Inc. But, to date, Smartmatic has not
explained how any document or any communication “with or concerning” the three
categories listed is related to Smartmatic’s claims.

As with Request Number 1, Defendants will produce documents relating to the categories
identified to the extent they reference Smartmatic, voting machines generally, or the 2020
Presidential Election.
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              C.     Request No. 7.

Request Number 7 seeks the production of “[d]ocuments and communications with or
concerning” scores of individuals, including guests that appeared on what Smartmatic has
coined the “defamatory programs,” three specific individuals, and a national political
organization. Req. No. 7. This request is limited to the time period spanning from January
1, 2018, to the present date.

First, although this request is limited in time, the request suffers from the same time
limitation issue identified above. Because even Smartmatic does not allege a defamatory
statement was made until late 2020, communications with or documents “concerning”
those individuals cannot be relevant to Smartmatic’s claims.

Second, Smartmatic has not adequately explained how every communication with or
document “concerning” those individuals and entities are tied to Smartmatic’s claims
unless they contain a reference to Smartmatic, voting machines generally, or the 2020
Presidential Election.

Defendants will produce documents with references to the individuals and entities listed
dated after January 1, 2020, provided those documents also contain a reference to
Smartmatic, voting machines generally, or the 2020 Presidential Election.

       III.   Concluding Remarks.

As I have noted several times on our two calls, the parties have agreed to a rolling
production in this case. When we have completed our review of the documents currently
identified as containing responsive keywords, we will advise, at which point we can
discuss any outstanding issues regarding our document production.

I look forward to a productive call this afternoon.


                                                  Sincerely,

                                                  /s/ Matthew R. Eslick

                                                  Matthew R. Eslick

MRE/
Cc: Andrew D. Parker, Esq.
